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Holly Roark, ISB No. 7143
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Counsel for Debtors

                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

In re:                                       Case No. 19-00880-JDP

RYAN WILLIAM HAWKES, and                     Chapter 7
SUZANN MARGARET HAWKES,

                                  Debtors.

           Notice of Motion to Withdraw as Counsel for Joint Debtor Suzann
           Margaret Hawkes and Opportunity to Object and for a Hearing

           No Objection. The Court may consider this request for an order without
           further notice or hearing unless a party in interest files an objection
           within 21 days of the date of service of this notice.

           If an objection is not filed within the time permitted, the Court may
           consider that there is no opposition to the granting of the requested
           relief and may grant the relief without further notice or hearing.

           Objection. Any objection shall set out the legal and/or factual basis for
           the objection. A copy of the objection shall be served on the movant.

           Hearing on Objection. The objecting party shall also contact the Court's
           calendar clerk to schedule a hearing on the objection and file a separate
           notice of hearing.


         COMES NOW Counsel for Joint Debtor, Suzann Margaret Hawkes, hereby moves the

Court for the entry of an order allowing Joint Debtor’s counsel to withdraw as attorney of record

for Joint Debtor.




 ___________________________________________________________________________________________

 MOTION TO WITHDRAW AS COUNSEL FOR JOINT DEBTOR SUZANN MARGARET HAWKES - 1
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       This Motion is made and based on the Declaration of Holly Roark filed herewith and

upon the records and papers filed in the above-entitled action. A proposed Order approving this

Motion is attached hereto.




March 17, 2021                                             ROARK LAW OFFICES




                                                    /s/    Holly Roark____________________
                                                           Holly Roark (ISBN 7143)
                                                           Attorney for Debtors




 ___________________________________________________________________________________________

 MOTION TO WITHDRAW AS COUNSEL FOR JOINT DEBTOR SUZANN MARGARET HAWKES - 2
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                             DECLARATION OF HOLLY ROARK


         I, Holly Roark, declare as follows,
         1.     I am the attorney for Debtor Ryan William Hawkes and Joint Debtor Suzann

Margaret Hawkes, and am duly licensed to practice before this court. I have personal knowledge

of the facts set forth herein and if called as a witness I could and would testify thereto truthfully

and competently.

         2.     There are two pending adversary cases against Debtor Ryan William Hawkes,

Spring Creek Capital, LLC v. Ryan William Hawkes, Case No. 19-06057-JDP and Automotive

Finance Corporation v. Ryan William Hawkes, Case No. 19-06058-JDP. Joint Debtor Suzann

Margaret Hawkes is not a defendant in those cases.

         3.     A conflict of interest has arisen which would prevent me from advocating for the

interests of Mrs. Suzann Margaret Hawkes. Counsel will provide further information to the Court

in camera if required in order to withdraw.

         4.     I believe my withdrawal would be appropriate under the Idaho Rules of

Professional Conduct.

         5.     Furthermore, considering the posture of this case and that Mrs. Hawkes has

already received her discharge on January 7, 2020, I do not believe that my withdrawal will

prejudice Mrs. Hawkes.



         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, and that this declaration was executed on March 17, 2021, at Boise,

Idaho.



__________________________________
Holly Roark




 ___________________________________________________________________________________________

 MOTION TO WITHDRAW AS COUNSEL FOR JOINT DEBTOR SUZANN MARGARET HAWKES - 3
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                              CERTIFICATE OF SERVICE


               I HEREBY CERTIFY that on March 17, 2021, I filed the foregoing document
       electronically through the CM/ECF system, which caused the following parties or
       counsel to be served by electronic means, as more fully reflected on the Notice of
       Electronic Filing:

      Joshua M O'Hare johare@foleyfreeman.com and Patrick John Geile
       pgeile@foleyfreeman.com on behalf of Spring Creek Capital, LLC
      Holly Roark holly@roarklawboise.com on behalf of Debtors
      J Ford Elsaesser, Chapter 7 Trustee feecf@eaidaho.com
      Kirk J. Houston, Counsel for Chapter 7 Trustee kirk.houston@smithmalek.com
      Brett R. Cahoon, Counsel for the U.S. Trustee ustp.region18.bs.ecf@usdoj.gov
      Luke Gordon on behalf of Plaintiff Automotive Finance Corporation
       luke@martellelaw.com, melody@martellelaw.com
      US Trustee ustp.region18.bs.ecf@usdoj.gov


               AND I FURTHER CERTIFY that on the same date above, I served the foregoing
       documents on the following non-CM/ECF Registered Participants in the manner
       indicated:

       JOINT DEBTOR
       Suzann Margaret Hawkes
       10145 W Holt St.
       Boise, ID 83704




       /s/ Holly Roark
       _______________________
       Holly Roark




 ___________________________________________________________________________________________

 MOTION TO WITHDRAW AS COUNSEL FOR JOINT DEBTOR SUZANN MARGARET HAWKES - 4
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                         UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO



In re:                                       Case No. 19-00880-JDP


RYAN WILLIAM HAWKES, and                     Chapter 7
SUZANN MARGARET HAWKES,


                                  Debtors.


         [PROPOSED]

    ORDER APPROVING MOTION TO WITHDRAW AS COUNSEL OF RECORD

         THIS MATTER having come before the Court by way of the Motion to Withdraw as

Counsel for Joint Debtor Suzann Margaret Hawkes filed by Holly Roark of Roark Law Offices,

with notice of said motion and opportunity to object having been made in accordance with

applicable Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules; and the Court

holding a hearing on the matter (or no party requesting a hearing), and no objection being filed or

heard regarding such Motion, and good cause appearing,

         IT IS HEREBY ORDERED that Holly Roark of Roark Law Offices is hereby permitted

to withdraw as attorney of record for Joint Debtor Suzann Margaret Hawkes, pursuant to the

provisions of LBR 9010.1(f).

         IT IS FURTHER ORDERED that Joint Debtor Suzann Margaret Hawkes is to appear in

person or appoint another attorney to appear, and to file a written notice with the court stating

how Joint Debtor will be represented within twenty-one (21) days from the date of this Order.

Mrs. Hawkes is advised that the failure to appear in person or through newly appointed counsel
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within said twenty-one (21) day period shall be sufficient grounds for entry of default or

dismissal of the action without further notice.

        IT IS FURTHER ORDERED that no further proceedings that affect Joint Debtor’s rights

will be held within the aforementioned twenty-one (21) days.




//end of text//




Submitted by Holly Roark
